             Case 2:11-cr-00119-WBS Document 287 Filed 02/09/17 Page 1 of 2


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 4
     Attorney for Defendant
 5   REBECCA GUZMAN

 6

 7
                           IN THE UNITED STATES DISTRICT COURT
 8
                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 9

10
     UNITED STATES OF AMERICA,              )        2:11-CR-00119-06 WBS
11                     )
                             Plaintiff,     )
12                                          )        STIPULATION AND [PROPOSED]
     v.                                     )        ORDER TO MODIFY BRIEFING
13                                          )        SCHEDULE
                                            )
14   REBECCA GUZMAN,                        )
                                            )
15                           Defendant.     )
     __________________________________     )
16
            On November 7, 2016, Ms. Guzman filed her motion to reduce sentence
17
     pursuant to 18 U.S.C. § 3582(c)(2).        CR 271.   The government filed its
18
     opposition on December 13, 2016.     CR 275.     Pursuant to this Court’s order on
19
     January 18, 2017, the date due for the reply brief was February 3, 2017.         CR
20
     281.
21
            Ms. Radekin needs additional time to obtain and review all relevant
22
     records to determine if she is going to file a reply brief, and then to
23
     prepare the reply brief.
24
            Accordingly, the parties stipulate and request that the date due for
25
     the reply brief be modified to March 10, 2017.         Assistant United States
26
     Attorney Jason Hitt has indicated he has no objection to the modification of
27

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               STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 1
               Case 2:11-cr-00119-WBS Document 287 Filed 02/09/17 Page 2 of 2


 1   the reply brief due date and has authorized Ms. Radekin to sign this

 2   stipulation on his behalf.

 3   IT IS SO STIPULATED.

 4   Dated: February 8, 2017                        PHILLIP A. TALBERT
                                                    Acting United States Attorney
 5
                                            By:     /s/ Jason Hitt
 6                                                  JASON HITT
                                                    Assistant United States
 7

 8   Dated: February 8, 2017                        /s/ Erin J. Radekin
                                                    ERIN J. RADEKIN
 9                                                  Attorney for Defendant
                                                    REBECCA GUZMAN
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11

12                                          ORDER

13            Pursuant to the unopposed request, and good cause appearing therefor,

14   it is hereby ordered that the date due for the reply brief to the

15   government’s opposition to defendant’s motion to reduce sentence pursuant to

16   § 3582(c)(2) be modified to March 10, 2017.

17   Dated:     February 9, 2017

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                  STIPULATION AND [PROPOSED] ORDER TO MODIFY BRIEFING SCHEDULE - 2
